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 8
      TEAMLAB INC.
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10
                            UNITED STATES DISTRICT COURT

11
                          CENTRAL DISTRICT OF CALIFORNIA

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       TEAMLAB INC., a Japanese              Case No.: 2:19-cv-06906-VAP-GJS
       corporation,
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15                      Plaintiff,           SECOND AMENDED COMPLAINT
                                             FOR:
16     vs.
17                                              (1) Copyright Infringement
       MUSEUM OF DREAM SPACE,
18     LLC, a California limited liability      (2) Contributory Copyright
19     company, and DAHOOO                          Infringement
       AMERICAN CORPORATION, an
20     Illinois corporation,                    (3) Vicarious Copyright
21                                                  Infringement
                        Defendants.
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                   TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 1         Plaintiff teamLab Inc. (“teamLab”), by its undersigned attorneys Cowan,
 2   DeBaets, Abrahams & Sheppard LLP, hereby submits its Second Amended Complaint
 3   against defendants Museum of Dream Space, LLC (“MODS”) and Dahooo American
 4   Corporation (“Dahooo”; collectively with MODS, “Defendants”), as follows:
 5                                NATURE OF THE ACTION
 6         1.     This is an action for direct, vicarious, and contributory copyright
 7   infringement based on Defendants’ copying of teamLab’s original copyrighted works,
 8   Defendants’ supervising (and direct financial interest in) the unauthorized exploitation
 9   of teamLab’s copyrighted works by others, and Defendants’ facilitating, inducing,
10   causing, and/or materially contributing to the infringing conduct of others.
11         2.     Upon information and belief, Defendants, directly and/or through their
12   agents or contractors, were aware of and had access to teamLab’s original works, which
13   were created well before Defendants’ and others’ infringing works.
14         3.     Defendants and/or their agents or contractors copied copyright-protectable
15   elements of teamLab’s original works in creating at least two of Defendants’ exhibits
16   for their Los Angeles-based art exhibition held at the Museum of Dream Space (the
17   “MODS Museum”), and, upon information and belief, Defendants have recently opened
18   new exhibitions in Las Vegas and Hollywood featuring one or more of these infringing
19   exhibits or exhibits similar thereto.
20         4.     Elements of two physical works created by Defendants that are at issue are
21   substantially similar to copyrightable elements of two of teamLab’s original works.
22         5.     Upon information and belief, Defendants also allowed a music video for
23   musician Justin Bieber’s song “Intentions (CHANGES: The Movement) ft. Quavo”
24   featuring two of the infringing exhibits, to be filmed on the MODS premises.
25         6.     The       video,     until    recently     appeared       on      YouTube
26   (https://youtu.be/TYVvtWLk8xw) and had received over fifteen million views.
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28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 1         7.     Upon information and belief, Defendants, as the purveyors of similar
 2   digital interactive art exhibitions, and/or their personnel, principals, or affiliates, knew
 3   or reasonably should have known that teamLab – an experienced, well-known, and
 4   internationally renowned art collective – would have owned the copyrights in its
 5   original works.
 6         8.     Upon information and belief, in an attempt to mislead consumers into
 7   believing that the teamLab exhibits were available to be viewed at the MODS Museum,
 8   Defendants also engaged and directed a third-party marketing consultant (the “Social
 9   Media Consultant”) in exchange for monetary compensation, to post verbatim copies
10   of still images owned by teamLab of teamLab’s works, on Defendants’ website and
11   social media accounts to promote the MODS Museum.
12         9.     Such acts by Defendants constitute infringement of the images by unlawful
13   reproduction, as well as unlawful public display by posting those images.
14         10.    Upon information and belief, Defendants and/or their agents or contractors
15   also took pictures of teamLab’s physical exhibits and posted them online, thereby
16   creating and publicly displaying unauthorized derivative works of the teamLab exhibits.
17                                        THE PARTIES
18         11.    teamLab is an interdisciplinary art collective headquartered in Tokyo,
19   Japan and incorporated under the laws of Japan. It employs numerous artists, designers,
20   computer scientists, and engineers to create large-scale digital works of art in the form
21   of interactive experiential displays.
22         12.    The mission of the collective is to explore the relationship between
23   humanity and nature by creating immersive digital art exhibitions that provide viewers
24   with a unique aesthetic and sensory experience.
25         13.    MODS is a California limited liability company formed in 2018 that, upon
26   information and belief, operates the MODS Museum. The MODS Museum space in
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28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 1   Los Angeles opened in or about May 2019; the MODS Museum claims it is the first
 2   museum mainly exhibiting digital art in the United States.
 3          14.    MODS has also recently opened new exhibitions in Hollywood and Las
 4   Vegas.
 5          15.    Dahooo is an Illinois corporation, operating as the United States subsidiary
 6   of Beijing Dahooo Technology Co., Ltd., which carries on operations (and, upon
 7   information and belief, engages in infringing activity) worldwide, including, but not
 8   limited to, China’s Tongzhou District.      Upon information and belief, Dahooo owns
 9   MODS and/or the MODS Museum.
10                               JURISDICTION AND VENUE
11          16.    Subject matter jurisdiction is proper in this Court under 28 U.S.C. §
12   1338(a) and 28 U.S.C. § 1331.
13          17.    This Court has personal jurisdiction over MODS because MODS is a
14   California LLC organized and existing under the laws of California, is licensed to do
15   business in California, and is headquartered in Los Angeles, California.
16          18.    Further, a substantial portion of the conduct at issue occurred in this
17   judicial district.
18          19.    The Court has personal jurisdiction over Dahooo because, on information
19   and belief, MODS is an alter-ego of Dahooo in that Dahooo owns and controls MODS
20   and/or the MODS Museum such that MODS and/or the MODS Museum are Dahooo’s
21   mere instrumentalities; it shares managers and/or directors with Dahooo; it is not
22   separate from Dahooo in any meaningful way; and to allow Dahooo to avoid jurisdiction
23   in California would promote injustice.
24          20.    Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because a
25   substantial part of the events or omissions giving rise to teamLab’s claims occurred in
26   this judicial district.
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28                    TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 1         21.    teamLab has standing and the capacity to sue for copyright infringement
 2   because, as a Japanese company, it is entitled to enforce its copyrights in the United
 3   States pursuant to 17 U.S.C. § 104(b)(1)-(2) and the Berne Convention for the
 4   Protection of Literary and Artistic Works (to which the United States is a party through
 5   the Berne Convention Implementation Act of 1988).
 6         22.    Even though its copyright registrations in its exhibits are pending, teamLab
 7   is entitled to sue in federal court because its works are not “United States Works” as
 8   defined by the Copyright Act. See id. §§ 101; 411(a).
 9         23.    As such, teamLab maintains exclusive rights under the Copyright Act, 17
10   U.S.C. § 106, including the right to reproduce its original works and to distribute and
11   publicly display the same and copies thereof, to create derivative works, and to allow
12   others to create derivative works and engage in unauthorized public display and
13   distribution of its original works.
14                             INTRADISTRICT ASSIGNMENT
15         24.    This action should be assigned to the Los Angeles Division, because this
16   action arises in Los Angeles County.
17                                           FACTS
18   teamLab Background
19         25.    Established in 2001, teamLab owns the copyrights in and to dozens of
20   mixed-media interactive audiovisual and sculptural works that have appeared in public
21   exhibitions (in both permanent collections and limited exhibitions) around the world for
22   many years. teamLab also owns the copyrights in and to still images depicting its
23   works.
24         26.    Article 15 of the Japanese Copyright Law (Act No. 38 of May 6, 1970)
25   states: “For a work (except a work of computer programming) that the employee of a
26   corporation or other employer . . ., makes in the course of duty at the initiative of the
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28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 1   corporation, etc., and which the corporation, etc. makes public as a work of its own
 2   authorship, the author is the corporation, etc., so long as it is not stipulated otherwise in
 3   a contract, in employment rules, or elsewhere at the time the work is made.” Under
 4   Japanese law, teamLab is the author and owner of all of its works, including the works
 5   at issue here. teamLab is therefore the legal owner of all copyright rights therein
 6   because the works are collaborative pieces of art designed, programmed, and created by
 7   artists employed by teamLab, Inc., the collective’s corporate entity.
 8         27.    teamLab has been creating interactive works of art for more than 15 years,
 9   and has put on exhibitions around the globe, including in London, Sydney, Singapore,
10   Istanbul, and Pace’s Art + Technology Gallery in Menlo Park, California; in 2018, it
11   opened a 107,000-square-foot interactive museum in Tokyo, teamLab Borderless.
12         28.    The exhibits – which often cost millions of dollars to create – have earned
13   teamLab prestigious recognitions including the Thea Award for Outstanding
14   Achievement for themed entertainment, an impressive accolade similarly awarded to
15   both Tokyo DisneySea and Universal Studios Japan.
16         29.    teamLab has worked with prominent global clients such as Paris’ La
17   Villette, Marina Bay Sands Pte. Ltd., National Museum of Singapore, and Pace Gallery.
18   teamLab’s collaboration with Paris’ La Villette gained significant global attention as
19   the centerpiece of the Japan-France 150th anniversary joint project celebrating the
20   establishment of diplomatic relations between the two countries.
21         30.    teamLab’s works and art exhibitions have also appeared in popular culture
22   – for example in a music video of rapper and producer DJ Swizz Beatz – and have been
23   licensed for advertisements and profiled by mainstream American media outlets such
24   as CNN and Vice.
25   teamLab’s Original Works and Defendants’ Infringing Works
26         teamLab Original Work “Boundaries”
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28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 1         31.   The first teamLab exhibit Defendants have infringed is a composite
 2   exhibition of two interrelated and intertwined works exhibited together in the same
 3   space titled “Universe of Water Particles, Transcending Boundaries” (created and
 4   published in Japan in 2013) and “Flowers and People, Cannot be Controlled but Live
 5   Together” (created in Japan and published in London in 2015) (collectively,
 6   “Boundaries”); the second is titled “Crystal Universe” (“Crystal”; together with
 7   “Boundaries,” the “Original Works”).
 8         32.   “Boundaries” is an original work of sculptural visual art that was created
 9   (as a merger of the two works mentioned above) by teamLab in Japan by Japanese artists
10   in 2017 and was first displayed at Pace Gallery in London from January 25 through
11   March 11, 2017. “Boundaries” appeared in part as follows:
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           33.    “Boundaries”      (a     video     of     which      is     available     at
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     https://www.youtube.com/watch?v=bqDeXfWKb-k), contains numerous protectable,
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     copyrightable elements, including, but not limited to, water expressed as a continuum
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     of innumerable light-blue particles; a waterfall expressed by flowing water which is a
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     collection of streaks of particles; water flowing uninterruptedly from a waterfall onto
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     the floor; multicolored flowers drawn behind the waterfall on the walls and floors; when
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     a person stands on the actual work, that person becomes an obstacle for the streams of
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     water as if a rock is blocking the water flow, and the work gives off the effect of
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     changing water flow as a result of the person standing in the water; and the work is also
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28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1   designed so that certain elements produce the effects of blooming flowers whenever a
  2   person stands in the flowing body of water and hinders the water flow.
  3         34.    The effect is that a part of the work of art is ever transforming as a result
  4   of the presence of viewers. It was created by utilizing the technique by which the 3D
  5   space is recognized like flat space as used in ancient Japanese paintings.
  6         35.    “Boundaries” was created by a team of artists, graphic designers, and
  7   computer programmers over a six-year period, who created image boards and key
  8   visuals, modeled the visuals through 3D data modeling, and ultimately rendered the
  9   visuals in the form of perceptible digital animation in a 3D space. These digital
 10   elements are saved and stored in computer memory. teamLab technicians and artists
 11   also selected and installed special projectors and sensors as part of the overall work in
 12   the exhibition space to create an immersive sculptural experience and used blended
 13   images using multiple projectors and integrated and aligned sensors to supply images
 14   and music.
 15         36.    In this sense, “Boundaries” is a visual work of art created in a fixed 3D
 16   space which is a combination of physical elements and digital elements, and is fixed as
 17   one work by both elements being fixed in a tangible medium of expression (including
 18   in the room housing the exhibition, in electronic media, and via the projectors and
 19   sensors noted above), for more than a transitory duration.
 20         37.    The digital images of “Boundaries” (like the water flow on the ground and
 21   the blooming flowers, providing the sensation of motion and passage of time) vary in
 22   accordance with the underlying computer algorithm that is designed and programmed
 23   by teamLab’s artists and programmers. This variety is not dependent on a viewer’s
 24   acts, and the large-scale elements of “Boundaries” such as the location of the major
 25   elements like the waterfall, are constant. Since only some of the digital images in
 26   “Boundaries” vary due to viewers’ acts in accordance with the algorithm, such viewers’
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1   acts do not have influence on the vast majority of other parts of “Boundaries,” and as
  2   described above, this work exists without viewers’ acts. Interactivity is one feature of
  3   “Boundaries” and simply adds an extra dimension to the work; in light of the
  4   protectability of works such as video games, this limited interactivity does not impact
  5   the copyrightability of “Boundaries.”
  6         38.    “Boundaries” is subject to protection under the Copyright Act, 17 U.S.C.
  7   § 104(b), because on the date of its first publication, one or more of its authors were
  8   nationals or domiciliaries of a treaty party as defined in 17 U.S.C. § 101, namely, Japan,
  9   and because “Boundaries” was first published in a foreign nation that, as of that date,
 10   was a treaty party, namely the United Kingdom.
 11         Defendants’ Infringing Work “Season Dream”
 12         39.    Upon information and belief, in or around September of 2018, over a year
 13   after “Boundaries” debuted, Defendants engaged a third-party contractor to provide the
 14   equipment, technology, and design of an exhibit entitled “Season Dream.”
 15         40.    Upon information and belief, while Defendants claim to have created the
 16   “idea,” of “Season Dream,” the third-party contractor implemented the idea and
 17   provided specific designs.
 18         41.    “Season Dream” appears in part as follows:
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 28                TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 15         42.    An illustrative side-by-side comparison of the similarities between
 16   “Boundaries” and “Season Dream,” as shown below, with “Boundaries” in the left
 17   column and “Season Dream” in the right, demonstrates some of the many copied
 18   protectable expression of “Boundaries,” including, but not limited to, the use of
 19   multicolored flowers flowing across the ground, the streams of light/water cascading
 20   down the wall and onto the ground, and the interactivity of the work responding to the
 21   user’s proximity to the exhibit. Both works also contain artwork flanking either side of
 22   the waterfall giving off the appearance of outer space or stars, or other natural
 23   phenomena:
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 28                TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 28                TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1         teamLab Original Work “Crystal”
  2         43.   teamLab’s work “Crystal” is an original work of sculptural art created by
  3   teamLab in Japan in 2015 and was first displayed at Pola Museum Annex in Japan in
  4   2015. It appeared in part as follows:
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 28                 TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  8         44.    “Crystal”       (a      video        of    which          is   available    at
  9   https://www.youtube.com/watch?v=NoDK3dZ8q4M), is an interactive installation
 10   consisting of lights forming a sculpture.
 11         45.    It contains numerous protectable elements, including, but not limited to,
 12   the specific orientation of the lights in the room, similar use of colors (purple and blue
 13   in particular), and the use of blinking patterns. “Crystal” also use mirrors and reflective
 14   floor and ceiling surfaces to create an illusion of infinite lights.
 15         46.    Viewers can walk through the space, feeling as if they are surrounded by
 16   lights, and their positioning and interaction, among other things through a smartphone
 17   app, influences how the lights forming the sculptural aspects of the work appear.
 18         47.     “Crystal” was created by a team of artists, graphic designers, computer
 19   programmers, and technicians over a one-year period, who created image boards and
 20   key visuals, modeled the visuals through 3D data modeling (the digital elements being
 21   saved and stored in computer memory), and ultimately rendered the work by installation
 22   of LED lights in the space, in the form of a highly creative and painstakingly arranged
 23   physical light display. teamLab technicians selected and installed special hardware
 24   including LED lights and sensors. teamLab technicians also developed an application
 25   for smartphones to interact with “Crystal.”
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1         48.    In this sense, “Crystal” is a visual work of art created in a fixed 3D space
  2   combining physical and digital elements and is fixed as one work by both elements in
  3   a tangible medium of expression (including in physical lights, electronic media, and via
  4   the sensors noted above) for more than a transitory duration.
  5         49.    In “Crystal,” the sculptural work of LED lights which constitutes the work
  6   does not vary and the sculptural work of LED lights is controlled by an underlying
  7   computer algorithm designed and programmed by teamLab’s artists and programmers
  8   that is not dependent on viewers’ acts. Viewers can walk through the installation and
  9   use a smartphone app to create further changes, and the change is part of the sculptural
 10   work created by lighting of the LED lights. Also, the sculptural work of LED lights
 11   itself remains fixed and most of the other parts of the work do not change. Interactivity
 12   is one feature of “Crystal” and viewers’ acts simply add an extra dimension to the work.
 13   in light of the protectability of works such as video games, this limited interactivity does
 14   not impact the copyrightability of “Crystal.”
 15         50.    “Crystal” is best described per the teamLab website as “an accumulation
 16   of light points to create a sculptural body, similar to the way distinct dots of color form
 17   an image in a pointillist painting.”
 18         51.    “Crystal” is subject to protection under the Copyright Act, 17 U.S.C. §
 19   104(b), because on the date of its first publication, one or more of its authors were
 20   nationals or domiciliaries of a treaty party as defined in 17 U.S.C. § 101, namely, Japan,
 21   and because “Crystal” was first published in a foreign nation that, as of that date, was a
 22   treaty party, namely Japan.
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1         Defendants’ Infringing Work “Galaxy Dream”
  2         52.    Upon information and belief, in or around September of 2018, nearly three
  3   years after “Crystal,” debuted, Defendants engaged another third-party contractor to
  4   provide the equipment, technology, and design of a substantially similar exhibit, entitled
  5   “Galaxy Dream.”
  6         53.    Upon information and belief, while Dahooo claims to have created the
  7   “idea,” of Galaxy Dream, the third-party contractor implemented the idea and provided
  8   specific designs.
  9         54.    “Galaxy Dream” appears in part as follows:
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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            55.   An illustrative side-by-side comparison of the similarities between
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      “Crystal” and “Galaxy Dream,” as shown below, with “Crystal” in the left column and
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                                              20
 28                 TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1   “Galaxy Dream” in the right, demonstrates some of the many copied protectable
  2   expression of “Crystal,” including, but not limited to, the specific orientation of the
  3   lights in the room, similar use of colors (purple and blue in particular), and the use of
  4   blinking patterns. Considered together, these elements are substantially similar. Both
  5   exhibits also use mirrors and reflective floor and ceiling surfaces to create an illusion
  6   of infinite lights:
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 28                   TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 12         56.   Defendants undoubtedly had access to teamLab’s works prior to creating
 13   the Infringing Works.
 14         57.   Defendants admitted in publicly available comments in their own social
 15   media posts that they had access to teamLab’s works, acknowledging that MODS
 16   exhibits look similar to teamLab works (highlighting added):
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 28                 TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 11         58.   As further proof of access, Defendants also copied verbatim text from
 12   teamLab’s website that teamLab used to describe its works of art. For instance, the
 13   following appeared on the MODS Museum website:
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 18         The very same text can be found on the teamLab website, which was established
 19   in 2003, well before the MODS Museum website was created:
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 24         59.   The substantial similarities between teamLab’s original exhibits and
 25   Defendants’ knockoffs were noted in many reviews of the MODS Museum. For
 26   example, in a review of the MODS Museum posted on May 13, 2019 (available at
 27
                                                23
 28                 TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1   https://www.timeout.com/los-angeles/things-to-do/museum-of-dream-space),
  2   TimeOut’s reviewer noted the following:
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            Tokyo’s teamLab—which, to be clear, has nothing to do with this photo op at
            the Beverly Center—creates immersive, simply astounding digital installations
  5         both in Japan and around the world (including here in L.A. at the upcoming
  6         Academy Museum). So why bring it up? Because as the latest “museum of…”
            starts to creep into your Instagram feed, we thought it was important to point
  7         out just how inelegantly derivative the Museum of Dream Space is of
  8         teamLab’s creations (with a little Yayoi Kusama cribbing thrown into the mix,
            as well). Will you walk away with Insta photos that pop? Probably. But don’t
  9         expect an experience with quite the same level of polish.
 10         60.    Furthermore, as mentioned below, the Defendants (and, upon information
 11   and belief, the Social Media Consultant, at the direction of Defendants) copied still
 12   images of teamLab’s exhibits in order to advertise the MODS Museum in their online
 13   postings and attempted to pass off teamLab’s works as their own at the MODS
 14   Museum exhibition. Such acts by the Defendants make it even more evident that the
 15   Defendants had access to teamLab’s works and that the Defendants consciously
 16   copied teamLab’s works.
 17   The teamLab Still Images
 18         61.    Various still images owned by teamLab depict teamLab’s exhibits
 19   (hereinafter, collectively, the “teamLab Images”). The teamLab Images were created
 20   by teamLab in Japan by Japanese artists employed by teamLab by photographing live
 21   teamLab exhibits. The teamLab Images appear on teamLab’s website.
 22         62.    The teamLab Images, as still-image works of visual art, are fixed and
 23   original with teamLab.
 24         63.    The timing of creation for the teamLab Images is set forth in the
 25   following table. The teamLab Images are considered “unpublished” under 17 U.S.C.
 26   § 104(a) because no copies were ever distributed to the public by sale, transfer of
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1   ownership, or by rental, lease, or lending or offered to a third party for further
  2   distribution.
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  4          teamLab Image                                 Timing of Creation
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  6                                                        July 2016
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 28                   TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 28                TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 28                TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 28                TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  9         64.    The teamLab Images are subject to protection under the Copyright Act,
 10   17 U.S.C. § 104(a), because as unpublished works, their national origin is irrelevant.
 11   Nonetheless, they were authored by nationals or domiciliaries of a treaty party as
 12   defined in 17 U.S.C. § 101, namely, Japan, and posted on teamLab’s website.
 13         65.    Upon information and belief, in or around 2018, Defendants contracted
 14   with the Social Media Consultant to manage their social media presence.
 15         66.    Upon information and belief, Defendants, at all times, had the ability to
 16   supervise and/or oversee any and all postings on their social media pages by the Social
 17   Media Consultant.
 18         67.    Upon information and belief, in an attempt to pass off teamLab’s works
 19   as their own in order to draw attention and ticket sales to the nascent MODS Museum
 20   and its planned grand opening, Defendants provided the Social Media Consultant with
 21   the teamLab Images and directed the Social Media Consultant to post the teamLab
 22   Images verbatim on MODS’ website. These direct duplications are listed in the table
 23   below; the teamLab Images appear in the left column and the Defendants’ infringing
 24   uses (collectively, the “Infringing Images”) appear in the right column.
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 28                TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 28                TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 28                TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 28                TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 11        68.   Once teamLab discovered the teamLab Images on the MODS website and
 12   demanded that the teamLab Images be removed, MODS Vice President Charles Chang
 13   admitted to the Social Media Consultant that Defendants copied the images, as shown
 14   in Telegram messenger screenshot excerpted below:
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 28                TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1         69.    Third-party websites even took notice of MODS’ copying of well-known
  2   teamLab images, for instance, at https://wacowla.com/blog/2019/01/23/museum-of-
  3   dream-space-open-spring-2019/:
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      Defendants’ Photographs of other teamLab Exhibits
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            70.    Upon information and belief, Defendants, or someone on their behalf,
 18
      photographed various other teamLab exhibits, which the aforementioned Social Media
 19
      Consultant posted online at the direction of Defendants to promote the MODS Museum.
 20
      The photographs of the exhibits constitute unauthorized derivative works of the exhibits
 21
      (the “Infringing Derivatives”).
 22
            71.    To the extent Defendants claim that the Infringing Derivatives were taken
 23
      with teamLab’s permission (which teamLab does not concede), permission was never
 24
      given to MODS to use the Infringing Derivatives in advertisements.
 25
            72.    The teamLab exhibits at issue include works titled “Forest of Resonating
 26
      Lamps,” “Universe of Water Particles on a Rock Where People Gather,” and “Wander
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1   through the Crystal World.” They are collectively referred to as the “Photographed
  2   Exhibits.”
  3           73.     The Photographed Exhibits are original works of art whose authorship
  4   originated with teamLab.
  5           74.     “Forest of Resonating Lamps” is a 3D sculptural exhibition consisting of
  6   Murano glass lamps suspended from the ceiling of a mirrored room (a video of the work
  7   appears       at https://www.youtube.com/watch?v=7mK_uOqiQik).         The    lamps    are
  8   arranged in a staggered configuration that forms a static sculptural grid through which
  9   viewers can walk. The lamps change lighting and colors in accordance with a computer
 10   algorithm designed and programmed by teamLab’s artists and programmers, with these
 11   digital elements being saved and stored in computer memory. Also, the proximity of
 12   viewers changes a part of the lamps’ lighting and colors subsisting in the work in
 13   accordance with the algorithm, but the Murano glass lamps themselves and the
 14   arrangement of the lamps and the lighting and colors of most of them are not affected
 15   by viewers’ acts. Interactivity is one feature of “Forest of Resonating Lamps” and
 16   simply adds an extra dimension to the work; in light of the protectability of works such
 17   as video games, this limited interactivity does not impact the copyrightability of this
 18   work.
 19           75.     “Forest of Resonating Lamps” is a sculptural work of visual art created in
 20   a fixed 3D space which combines physical and digital elements and is fixed in a tangible
 21   medium of expression (including electronic media and physical items such as Murano
 22   glass lamps) for more than a transitory duration.
 23           76.     “Universe of Water Particles on a Rock Where People Gather” (seen here
 24   https://www.youtube.com/watch?v=iUSXVxOb4Hk) is similar in appearance and
 25   nature to “Boundaries” and the process of its creation largely mirrors that of
 26   “Boundaries,” as described above.       It is an experiential 3D sculptural work housed in
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 28                    TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1   a three-dimensional space simulating water falling onto a rock where the flow of the
  2   water draws the shape of the waterfall. In this sense, it is a visual work of art created
  3   in a fixed 3D space combining physical and digital elements and is fixed as one work
  4   by both elements being fixed in a tangible medium of expression (including the space
  5   housing the exhibit and geographic features therein, electronic media on which the
  6   digital elements are saved and stored, and projectors, and sensors) for more than a
  7   transitory duration.
  8         77.    As with “Boundaries,” the digital images of this work (like the water
  9   flowing on the ground and the blooming flowers) vary in accordance with an underlying
 10   computer algorithm that is designed and programmed by teamLab’s artists and
 11   programmers. This variety is not dependent on viewers’ acts. Only a part of digital
 12   images of this work vary due to viewers’ acts in accordance with the algorithm, and the
 13   vast majority of this work of art exists without viewers’ acts, and large-scale elements
 14   of the work, such as the location of the waterfall and rock, are constant. Viewers’ acts
 15   simply add extra elements to the work. Since only some of the digital images in
 16   “Universe of Water Particles” vary due to viewers’ acts in accordance with the
 17   algorithm, such viewers’ acts do not have influence on the vast majority of other parts
 18   of the work and as described above, this work exists without viewers’ acts. Interactivity
 19   is one feature of “Universe of Water Particle” and simply adds an extra dimension to
 20   the work; in light of the protectability of works such as video games, this limited
 21   interactivity does not impact the copyrightability of “Universe of Water Particles.”
 22         78.    “Wander       through      the     Crystal      World”       (seen     here
 23   https://www.youtube.com/watch?v=htGsCscBRIk) is similar in appearance and nature
 24   to “Crystal,” and the process of its creation largely mirrors that of “Crystal,” as
 25   described above. This work is a combination of physical elements and digital elements
 26   and is created in a fixed 3D space, and the work is fixed as one work by both elements
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1   being fixed in a tangible medium of expression (including the LED light fixtures and
  2   electronic media on which the digital elements are saved and stored) for more than a
  3   transitory duration.
  4         79.    “Wander through the Crystal World” is similar to “Crystal” in that the
  5   fixed sculptural work of LED lights itself which embodies this work does not vary and
  6   the appearance of the lights is primarily controlled by the underlying computer
  7   algorithm designed and programmed by teamLab’s artists and programmers and is not
  8   dependent on viewer’s acts. Viewers can walk through the installation and use a
  9   smartphone app to create certain changes, and the changes are part of the sculptural
 10   work that is created by lighting of the LED lights, but the sculptural work of LED lights
 11   itself remains fixed. In this sense, viewers’ acts simply add extra elements to the work.
 12   Interactivity is one feature of “Wander through the Crystal World” and simply adds an
 13   extra dimension to the work; in light of the protectability of works such as video games,
 14   this limited interactivity does not impact the copyrightability of this work.
 15         80.    “Wander through the Crystal World” is also best described per the
 16   teamLab website as “an accumulation of light points to create a sculptural body, similar
 17   to the way distinct dots of color form an image in a pointillist painting.”
 18         81.    The Photographed Exhibits were created in Japan. The timing of their
 19   creation, and their dates and locations of first publication (via public exhibitions) is as
 20   follows: “Forest of Resonating Lamps” (Created September 2016; published September
 21   2, 2016 in France); “Universe of Water Particles on a Rock Where People Gather”
 22   (Created June 2018; published June 21, 2018 in Japan); “Wander through the Crystal
 23   World” (Created June 2018; published June 21, 2018 in Japan).
 24         82.    The Photographed Exhibits are subject to protection under the Copyright
 25   Act, 17 U.S.C. § 104(b), because on the date of their first publication, one or more of
 26   their authors were nationals or domiciliaries of a treaty party as defined in 17 U.S.C. §
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  1   101, namely, Japan, and because they were first published in a foreign nation that, as of
  2   that date, was a treaty party, namely Japan or France.
  3         83.    Defendants’ Infringing Derivatives are listed below, with images of the
  4   Photographed Exhibits appearing in the left column and the Infringing Derivatives
  5   appearing in the right column.
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 28                TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 18   Discovery of the Infringements
 19         84.   In early 2019, teamLab discovered that Defendants – who had not yet
 20   opened the MODS Museum – were promoting and advertising the upcoming grand
 21   opening of the MODS Museum on the internet via a website (www.modsla.com) and
 22   social media accounts (including Facebook and Instagram) using images of teamLab’s
 23   works. These images consisted of the Infringing Images and Infringing Derivatives.
 24         85.   teamLab began receiving correspondence, a selection of which is
 25   excerpted below, from confused consumers who believed that – due to Defendants’
 26   copying of teamLab’s works – the MODS Museum was associated with teamLab:
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 28                 TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 28                TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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 16         86.   In February 2019, teamLab demanded the removal of certain images and
 17   videos, including Infringing Images and Infringing Derivatives, from the MODS
 18   website and social media accounts, and the removal of infringing content from MODS’
 19   upcoming exhibition, that bore substantial similarities to teamLab’s works and images
 20   and videos of works. At around that time, teamLab also became generally aware of
 21   Defendants’ practice of fashioning MODS’ exhibits by means of copying other
 22   international organizations and artists apart from teamLab itself, through a comparison
 23   of MODS exhibits with the Swarovski Kristallwelten “Crystal Dome” installation and
 24   Yahoi Kusama’s “Infinity Mirrored Room,” for example.
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 28                 TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1           87.   In March and April 2019, teamLab continued to find infringing images and
  2   videos on the MODS website, on YouTube, and on social media platforms. Many of
  3   those works remain live and online.
  4           88.   In May 2019, MODS proceeded to publicly display the Infringing Works
  5   starting at the MODS Museum grand opening.
  6           89.   In August 2019, teamLab filed the instant lawsuit.
  7           90.   In March 2020, teamLab discovered that, in addition to the infringing acts
  8   described above, and during the pendency of this lawsuit, MODS had taken material
  9   steps    to    open    two    new     exhibitions,   one    located    in   Hollywood
 10   (https://modshollywood.com/) and one located in Las Vegas (https://modsvegas.com/),
 11   which appear to feature the Infringing Works from the MODS Museum, or at the very
 12   least, use images and/or videos of those Infringing Works to advertise the new spaces,
 13   as shown below:
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  9         91.    Upon information and belief, there is further reason to suspect that the

 10   Infringing Works will be featured at the new MODS locations, as Defendants have

 11   refused to produce information cataloguing the works to be displayed, to which end

 12   teamLab reserves the right to seek a temporary restraining order or preliminary

 13   injunction should it learn of further infringement of the Original Works at the new

 14   locations.

 15         92.    Indeed, upon information and belief, the opening of the two new MODS

 16   locations is imminent, or has already occurred.

 17         93.    teamLab further discovered that, upon information and belief, MODS

 18   allowed musician Justin Bieber’s music video for his song entitled “Intentions

 19   (CHANGES: The Movement) ft. Quavo” (the “Intentions Video”) to be filmed on

 20   premises at the MODS Museum, including within “Galaxy Dream” and “Season

 21   Dream.”

 22         94.    Upon information and belief, Defendants were aware of and facilitated and

 23   encouraged the producers of the Intentions Video to film within the MODS Museum

 24   and in the Infringing Exhibits.

 25         95.    Screenshots showing the Infringing Works as featured in the Intentions

 26   Video are below:

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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1                                    “Season Dream”
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                                       “Galaxy Dream”
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            96.   Since learning of the Intentions Video, teamLab issued a takedown notice
 23
      to seek removal of the Intentions Video from all platforms on which it appears, which
 24
      was complied with.
 25
            97.   By continuing to use the Infringing Images and Infringing Derivatives, by
 26
      publicly displaying the Infringing Works, creating new exhibitions for their
 27
                                               46
 28                 TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1   infringements, by supervising infringing activity that they directly benefited from, and
  2   by facilitating, including, causing, or materially contributing to the use of the Infringing
  3   Works by others in infringing derivative works (such as the Intentions Video),
  4   Defendants have consciously flouted their legal obligation to refrain from infringing
  5   teamLab’s copyrights in the Original Works, the teamLab Images, and the
  6   Photographed Exhibits, particularly during the pendency of this litigation.
  7                                   CLAIMS FOR RELIEF
  8                                           COUNT I
  9          DIRECT COPYRIGHT INFRINGEMENT – ORIGINAL WORKS
 10                                         (17 U.S.C. § 501)
 11         98.    teamLab incorporates the allegations of Paragraphs 1 through 97 of its
 12   Second Amended Complaint as if restated herein.
 13         99.    teamLab’s Original Works, including “Boundaries” and “Crystal,” are
 14   original works fixed in tangible mediums of expression in the form of pictorial, graphic,
 15   or sculptural works, and/or audiovisual works. teamLab’s Original Works, including
 16   “Boundaries” and “Crystal,” are therefore protected under § 102(a)(5)-(6) of the
 17   Copyright Act.
 18         100. Each of the ultimate artworks “Boundaries” and “Crystal” is a combination
 19   of physical elements and digital elements created in a fixed 3D space by human authors,
 20   and is fixed as one work by both elements being fixed in tangible mediums of expression
 21   (including electronic and physical media) for more than transitory duration.
 22   “Boundaries” and “Crystal” are perceptible by one’s senses for more than a transitory
 23   duration because physical elements are unchangeable; aspects of the digital elements
 24   (saved and stored in computer memory), i.e., sights, sounds, and experiences, vary in
 25   accordance with a computer algorithm upon which these works are built; because the
 26   overall design and placement of the major artistic elements and structures in the Original
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1   Works as a whole is constant; and because the Original Works are perpetual in that they
  2   continually show their artistic content with or without viewers present.
  3         101. Further, the fixation of the audiovisual aspects of the Original Works’
  4   fixation is made simultaneously with their transmission, and as works that incorporate
  5   elements of improvisation, viewer participation during the Original Works’
  6   performance does not undermine their fixation.           Interactivity is one feature of
  7   “Boundaries” and “Crystal” and simply adds an extra dimension to the works; in light
  8   of the protectability of works such as video games, this limited interactivity does not
  9   impact the copyrightability of the Original Works.
 10         102. teamLab owns the copyrights in the Original Works as works for hire by
 11   its employees.
 12         103. Defendants had access to teamLab’s works, including the Original Works,
 13   and were aware of the existence of the same prior to creating their Infringing Works.
 14   Defendants admitted as much in social media posts as well as through copying the
 15   teamLab Images to advertise the MODS Museum, copying text verbatim from
 16   teamLab’s website, and attempting to pass off photos taken at teamLab exhibitions as
 17   MODS works.
 18         104. Defendants have copied protected expression from teamLab’s work
 19   “Boundaries” into “Season Dream,” including without limitation the multicolored
 20   flowers drawn behind the waterfall on the walls and floor of the exhibit, and the streams
 21   of water cascading down the wall and onto the ground. Both works also contain artwork
 22   flanking either side of the waterfall; while those individual pieces may be different, they
 23   both give off the appearance of outer space, stars, or organic plant life.
 24         105. To the extent any individual element is not itself protectable, the unique
 25   selection, arrangement, and coordination of elements (both copyrightable, such as
 26   specific graphical artwork rendered during the exhibit, and uncopyrightable, such as
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 28                    TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1   any purely ephemeral elements and stylistic and technological techniques and choices
  2   that make the Original Works unique) in “Boundaries” is protectable and Defendants’
  3   work “Season Dream” replicates the original and protectable selection, arrangement,
  4   and coordination of teamLab’s work. “Season Dream” is substantially similar in total
  5   concept and feel to “Boundaries.”
  6         106. Defendants have copied protected expression from teamLab’s work
  7   “Crystal” into “Galaxy Dream,” including without limitation, the orientation of the
  8   lights in the room, the similar use of colors, the use of blinking patterns, and the use of
  9   mirrors and reflective floor and ceiling surfaces to create an illusion of infinite lights.
 10         107. To the extent any individual element is not itself protectable, the unique
 11   selection, arrangement, and coordination of elements (both copyrightable, such as the
 12   arrangement of LED lights and specific graphical artwork rendered during the exhibit,
 13   and uncopyrightable, such as any purely ephemeral               elements and stylistic and
 14   technological techniques and choices that make the Original Works unique) in “Crystal”
 15   is protectable and Defendants’ work “Galaxy Dream” replicates the protectable original
 16   selection, arrangement, and coordination of teamLab’s work. “Galaxy Dream” is
 17   substantially similar in total concept and feel to “Crystal.”
 18         108. Defendants did not procure a license or any other form of permission to
 19   copy any protectable elements of teamLab’s Original Works, and as such any copying
 20   was unauthorized.
 21         109. Defendants’ work “Season Dream” is substantially similar to teamLab’s
 22   “Boundaries.”
 23         110. Defendants’ work “Galaxy Dream” is substantially similar to teamLab’s
 24   “Crystal.”
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 28                   TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1         111. Defendants have infringed teamLab’s exclusive rights under 17 U.S.C. §§
  2   106(1) & (5) by reproducing and publicly displaying protected elements of the Original
  3   Works.
  4         112. teamLab has been extensively damaged by Defendants’ infringement of
  5   the Original Works.
  6         113. teamLab routinely receives license fees in the range of one million to
  7   several million dollars for six-month licensing periods in connection with exhibitions
  8   of its works. These fees can be fixed or contingent based on revenue generated by a
  9   given exhibition, or a combination of both.
 10         114. teamLab exhibitions attract significant visitors and generate millions of
 11   dollars in revenues. For instance, from the time it opened on June 21, 2018, teamLab’s
 12   Tokyo museum teamLab Borderless, welcomed about 2,300,000 visitors, many of
 13   whom stated, in response to a survey, that they traveled to Tokyo specifically to visit
 14   teamLab’s museum. teamLab Borderless garnered more than $50,000,000 in total
 15   earnings within a year of its opening.
 16         115. License fees in connection with the use of teamLab’s works in commercial
 17   advertising projects generate hundreds of thousands of dollars’ worth of fees.
 18         116. Upon information and belief, Defendants continue to reap significant
 19   financial benefits, including ticket sales and other profits, by displaying the Infringing
 20   Works as part of the MODS Museum exhibition.
 21         117. Upon information and belief, Defendants reaped significant profits on the
 22   back of teamLab’s copyrighted works.
 23         118. Defendants’ copyright infringements are and have been knowing,
 24   intentional, and purposeful, in disregard of and indifference to teamLab’s rights.
 25         119. teamLab will continue to be harmed by Defendants’ infringing conduct
 26   and requires this Court’s intervention because, upon information and belief, Defendants
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1   have no intention of ceasing their infringements and have, rather, created and opened
  2   additional exhibitions, including in Hollywood and Las Vegas.
  3         120. teamLab has been irreparably harmed and has no adequate remedy at law
  4   and is therefore entitled to injunctive relief against Defendants.
  5                                          COUNT II
  6        VICARIOUS COPYRIGHT INFRINGEMENT – ORIGINAL WORKS
  7         121. teamLab incorporates the allegations of Paragraphs 1 through 120 of its
  8   Second Amended Complaint as if restated herein.
  9         122. To the extent Defendants claim that the third-party contractors caused the
 10   infringement of the Original Works, upon information and belief, Defendants are
 11   vicariously liable for the infringement alleged herein because they had the right and
 12   ability to supervise the creation and operation of the MODS Museum, including with
 13   respect to the Infringing Exhibits.
 14         123. Upon information and belief, Defendants also had the right and ability to
 15   stop or limit infringement committed by third-party contractors, whom Defendants
 16   hired, in creating the Infringing Exhibits.
 17         124. However, Defendants declined to exercise their right to stop or limit the
 18   third-party contractors’ infringement upon teamLab’s copyrights.
 19         125. Defendants profited and continue to profit from the third-party contractors’
 20   infringement upon teamLab’s copyrights in the Original Works, and therefore have a
 21   direct financial interest in the infringing conduct.
 22         126. Defendants’ acts of vicarious copyright infringement have been willful,
 23   intentional, and purposeful, in disregard of and indifference to teamLab’s rights.
 24         127. As a direct and proximate result of Defendants’ infringements of
 25   teamLab’s copyrights and exclusive rights under copyright, teamLab is entitled to
 26   damages and Defendants’ profits pursuant to 17 U.S.C. § 504(b).
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1         128. Upon information and belief, Defendants have no intention of ceasing their
  2   infringements. Defendants’ conduct is causing, and, unless enjoined and restrained by
  3   this Court, will continue to cause teamLab great and irreparable injury that cannot fully
  4   be compensated or measured in money. teamLab has no adequate remedy at law.
  5   Pursuant to 17 U.S.C. § 502, teamLab is entitled to injunctive relief prohibiting further
  6   vicarious infringements of its Original Works.
  7         129. teamLab will continue to be harmed by Defendants’ infringing conduct
  8   and requires this Court’s intervention because, upon information and belief, Defendants
  9   have no intention of ceasing their infringements and have, rather, created and opened
 10   additional exhibitions, including in Hollywood and Las Vegas.
 11                                         COUNT III
 12    CONTRIBUTORY COPYRIGHT INFRINGEMENT – ORIGINAL WORKS
 13         130. teamLab incorporates the allegations of Paragraphs 1 through 129 of its
 14   Second Amended Complaint as if restated herein.
 15         131. Defendants knew or should have known of the copyright infringements of
 16   the Original Works described above.
 17         132. Upon information and belief, Defendants induced, caused, or materially
 18   contributed to the copyright infringements of the Original Works described above,
 19   including, but not limited to, by allowing, intentionally inducing, and/or encouraging,
 20   and/or materially contributing, and/or assisting with the creation and/or production of
 21   the Intentions Video.
 22         133. Upon information and belief, Defendants knew of the production of the
 23   Intentions Video, and encouraged, induced, and permitted the producers of the
 24   Intentions Video to access the MODS Museum in order to create the Intentions Video
 25   despite the pendency of this litigation.
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1         134. Defendants’ acts of contributory copyright infringement have been willful,
  2   intentional, and purposeful, in disregard of and indifference to teamLab’s rights.
  3         135. As a direct and proximate result of Defendants’ infringements of
  4   teamLab’s copyrights and exclusive rights under copyright, teamLab is entitled to
  5   damages and Defendants’ profits pursuant to 17 U.S.C. § 504(b).
  6         136. Defendants’ conduct is causing, and, unless enjoined and restrained by this
  7   Court, will continue to cause teamLab great and irreparable injury that cannot fully be
  8   compensated or measured in money. teamLab has no adequate remedy at law. Pursuant
  9   to 17 U.S.C. § 502, teamLab is entitled to injunctive relief prohibiting further
 10   contributory infringements of its Original Works.
 11                                         COUNT IV
 12          DIRECT COPYRIGHT INFRINGEMENT – TEAMLAB IMAGES
 13                                       (17 U.S.C. § 501)
 14         137. teamLab incorporates the allegations of Paragraphs 1 through 136 of its
 15   Second Amended Complaint as if restated herein.
 16         138. The teamLab Images are original works fixed in tangible mediums of
 17   expression in the form of pictorial or graphic works and are therefore protected under
 18   17 U.S.C. § 102(5).
 19         139. teamLab owns the copyrights in the teamLab Images as works for hire by
 20   its employees.
 21         140. Defendants had access to the teamLab Images and were aware of the
 22   existence of the same prior to creating their Infringing Images given that the Infringing
 23   Images are exact replicas of the teamLab Images.
 24         141. Defendants copied the teamLab Images, if not verbatim than substantially
 25   in their entireties, including most if not all original expressive elements thereof, and
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 28                    TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1   posted the unauthorized copies on Defendants’ websites and social media accounts in
  2   order to advertise the MODS Museum.
  3            142. Defendants’ conduct violates teamLab’s rights under 17 U.S.C. §§ 106(1)
  4   & (5).
  5            143. Defendants did not procure a license or any other form of permission to
  6   copy the teamLab Images, and as such any copying was unauthorized.
  7            144. Defendants’ Infringing Images replicate the total concept and feel of the
  8   teamLab Images
  9            145. Defendants’ Infringing Images are substantially similar to the teamLab
 10   Images, and are in fact, identical or nearly identical.
 11            146. teamLab has been extensively damaged by Defendants’ use of the
 12   Infringing Images. teamLab routinely receives fees in the range of approximately
 13   $94,000 to $280,000 for granting licenses to third parties to use teamLab’s original
 14   works in images and/or videos for purposes of advertising third-party products or
 15   services.
 16            147. Upon information and belief, Defendants received significant financial
 17   benefits, including profits, by using unauthorized copies of the teamLab Images to
 18   advertise the grand opening of the MODS Museum and continued using the Infringing
 19   Images to sell tickets even after the MODS Museum opened.
 20            148. Upon information and belief, Defendants reaped significant profits on the
 21   back of teamLab’s copyrighted works.
 22            149. Defendants’ copyright infringements are and have been knowing,
 23   intentional, and purposeful, in disregard of and indifference to teamLab’s rights.
 24            150. teamLab will continue to be harmed by Defendants’ infringing conduct
 25   and requires this Court’s intervention because, while certain Infringing Images have
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 28                    TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1   been removed or taken down from various online platforms, upon information and
  2   belief, Defendants have no intention of ceasing their infringements.
  3          151. teamLab has been irreparably harmed and has no adequate remedy at law
  4   and is therefore entitled to injunctive relief against Defendants.
  5                                          COUNT V
  6        VICARIOUS COPYRIGHT INFRINGEMENT – TEAMLAB IMAGES
  7          152. teamLab incorporates the allegations of Paragraphs 1 through 151 of its
  8   Second Amended Complaint as if restated herein.
  9          153. To the extent Defendants claim its Social Media Consultant is responsible
 10   for the infringement of the teamLab Images, Defendants are vicariously liable for the
 11   infringement alleged herein.
 12          154. Defendants have the right and ability to supervise their website and social
 13   media pages.
 14          155. Defendants had the right and ability to stop or limit infringement
 15   committed by their Social Media Consultant, whom Defendants hired, in copying the
 16   teamLab Images, and, in fact, Defendants supplied the teamLab Images to the Social
 17   Media Consultant, which they then directed the Social Media Consultant to post online.
 18          156. Defendants declined to exercise their right to stop or limit the Social Media
 19   Consultant’s direct infringement upon teamLab’s copyrights, and, in fact, facilitated
 20   and encouraged it.
 21          157. Defendants profited and continue to profit from the Social Media
 22   Consultant’s infringement upon teamLab’s copyrights because, inter alia, the
 23   infringements were used in connection with advertisements and promotional efforts
 24   related to the MODS Museum and to drive traffic to the MODS Museum for purposes
 25   of ticket sales.
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 28                      TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1         158. Defendants’ acts of vicarious copyright infringement have been willful,
  2   intentional, and purposeful, in disregard of and indifference to teamLab’s rights.
  3         159. As a direct and proximate result of Defendants’ infringements of
  4   teamLab’s copyrights and exclusive rights under copyright, teamLab is entitled to
  5   damages and Defendants’ profits pursuant to 17 U.S.C. § 504(b).
  6         160. teamLab will continue to be harmed by Defendants’ infringing conduct
  7   and requires this Court’s intervention because, while certain Infringing Images have
  8   been removed or taken down from various online platforms, upon information and
  9   belief, Defendants have no intention of ceasing their infringements. Defendants’
 10   conduct is causing, and, unless enjoined and restrained by this Court, will continue to
 11   cause teamLab great and irreparable injury that cannot fully be compensated or
 12   measured in money. teamLab has no adequate remedy at law. Pursuant to 17 U.S.C. §
 13   502, teamLab is entitled to injunctive relief prohibiting further vicarious infringements
 14   of its teamLab Images.
 15                                         COUNT VI
 16   CONTRIBUTORY COPYRIGHT INFRINGEMENT – TEAMLAB IMAGES
 17         161. teamLab incorporates the allegations of Paragraphs 1 through 160 of its
 18   Second Amended Complaint as if restated herein.
 19         162. Defendants knew or should have known of the copyright infringements of
 20   the teamLab Images described above.
 21         163. Upon information and belief, Defendants induced, caused, or materially
 22   contributed to the copyright infringements of the teamLab Images described above,
 23   including, but not limited to, by supplying the teamLab Images to the Social Media
 24   Consultant, and then directing the Social Media Consultant to post them online.
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1         164. Upon information and belief, Defendants encouraged, induced, and
  2   permitted the Social Media Consultant to post the teamLab Images online to advertise
  3   its MODS Museum.
  4         165. Defendants’ acts of contributory copyright infringement have been willful,
  5   intentional, and purposeful, in disregard of and indifference to teamLab’s rights.
  6         166. As a direct and proximate result of Defendants’ infringements of
  7   teamLab’s copyrights and exclusive rights under copyright, teamLab is entitled to
  8   damages and Defendants’ profits pursuant to 17 U.S.C. § 504(b).
  9         167. teamLab will continue to be harmed by Defendants’ infringing conduct
 10   and requires this Court’s intervention because, while certain Infringing Images have
 11   been removed or taken down from various online platforms, upon information and
 12   belief, Defendants have no intention of ceasing their infringements. Defendants’
 13   conduct is causing, and, unless enjoined and restrained by this Court, will continue to
 14   cause teamLab great and irreparable injury that cannot fully be compensated or
 15   measured in money. teamLab has no adequate remedy at law. Pursuant to 17 U.S.C. §
 16   502, teamLab is entitled to injunctive relief prohibiting further contributory
 17   infringements of its teamLab Images.
 18                                        COUNT VII
 19    DIRECT COPYRIGHT INFRINGEMENT – PHOTOGRAPHED EXHIBITS
 20         168. teamLab incorporates the allegations of Paragraphs 1 through 167 of its
 21   Second Amended Complaint as if restated herein.
 22         169. The Photographed Exhibits are original works fixed in tangible mediums
 23   of expression in the form of pictorial, graphic, or sculptural works, and/or audiovisual
 24   works. teamLab’s Photographed Exhibits are therefore protected under § 102(a)(5)-(6)
 25   of the Copyright Act.
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1         170. Each of the artworks embodied in the Photographed Exhibits consists of a
  2   combination of physical elements and digital elements created by human authors, and
  3   both elements are fixed in a tangible medium of expression (including in physical
  4   spaces, on computer memory, and through projectors and sensors, glass lamps. and LED
  5   lights) for more than a transitory duration. The Photographed Exhibits are fixed and
  6   perceptible by one’s senses for more than a transitory duration because physical
  7   elements are unchangeable; digital elements are saved and stored in computer memory
  8   where many aspects of the sights, sounds, and experiences vary in accordance with the
  9   works’ respective computer algorithms; because the overall design and placement of
 10   the major artistic elements and structures in the Photographed Exhibits as a whole is
 11   constant; and because the Photographed Exhibits are perpetual in that they continually
 12   show their artistic content with or without viewers present.
 13         171. Further, as discussed above, the audiovisual aspects of the Photographed
 14   Exhibits are fixed simultaneous with being transmitted, and as works that incorporate
 15   elements of improvisation, viewer participation during the Photographed Exhibits’
 16   performance does not undermine their fixation.       Interactivity is one feature of the
 17   Photographed Exhibits and simply adds an extra dimension to the works; in light of the
 18   protectability of works such as video games, this limited interactivity does not impact
 19   the copyrightability of the Photographed Exhibits.
 20         172. teamLab owns the copyrights in the Photographed Exhibits as works for
 21   hire by its employees.
 22         173. Upon information and belief, Defendants, or someone on Defendants’
 23   behalf, photographed the Photographed Exhibits and posted the images on Defendants’
 24   websites and social media accounts in order to advertise the MODS Museum.
 25         174. Defendants had access to teamLab’s works, including the Photographed
 26   Exhibits, and were aware of the existence of the same prior to creating their Infringing
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1   Derivatives. Defendants admitted as much in social media posts as well as through
  2   copying text verbatim from teamLab’s website and attempting to pass off the Infringing
  3   Images for teamLab Images.
  4         175. Defendants      have   copied    protected   expression   from    teamLab’s
  5   Photographed Exhibits, including without limitation by capturing fixed visual images
  6   on which individual discrete expressive design elements of each of the Photographed
  7   Exhibits, such as flowing streams of water, multicolored flowers, and fixed sculptural
  8   aspects of meticulously arranged suspended lamps and hanging LED lights.
  9         176. To the extent any individual element is not protectable, the original
 10   selection, arrangement, and coordination of elements (both copyrightable, such as
 11   specific physical structures and graphical artwork rendered during the exhibit, and
 12   uncopyrightable, such as any purely ephemeral elements and stylistic and technological
 13   techniques and choices that make the Original Works unique) in the Photographed
 14   Exhibits is protectable and Defendants’ Infringing Derivatives replicate the protectable
 15   original selection, arrangement, and coordination of teamLab’s works.
 16         177. The Infringing Derivatives replicate the total concept and feel of the
 17   Photographed Exhibits.
 18         178. Defendants’ Infringing Derivatives are substantially similar to teamLab’s
 19   Photographed Exhibits.
 20         179. Defendants did not procure a license or any other form of permission to
 21   copy any protectable elements of teamLab’s Photographed Exhibits, and as such any
 22   copying or creation of derivative works was unauthorized.
 23         180. Defendants’ conduct violates teamLab’s rights under 17 U.S.C. §§ 106(2)
 24   because photographs of pictorial, graphic, or sculptural works constitute derivative
 25   works which must be authorized by the copyright owner, here, teamLab.
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1         181. teamLab has been extensively damaged by Defendants’ infringement of
  2   the Photographed Exhibits largely for the reasons set forth in Counts I and IV, in that
  3   teamLab derives substantial licensing revenue from exhibitions of its original works
  4   and licensing of images of same for advertising purposes.
  5         182. Upon information and belief, Defendants received significant financial
  6   benefits, including profits, by using its Infringing Derivatives to advertise the grand
  7   opening of the MODS Museum and continued using the same to sell tickets even after
  8   the MODS Museum opened.
  9         183. Upon information and belief, Defendants reaped profits far in excess of
 10   $75,000 on the back of teamLab’s copyrighted works.
 11         184. Defendants’ copyright infringements are and have been knowing,
 12   intentional, and purposeful, in disregard of and indifference to teamLab’s rights.
 13         185. Upon information and belief, Defendants have no intention of ceasing their
 14   infringements. teamLab will continue to be harmed by Defendants’ infringing conduct
 15   and requires this Court’s intervention because, upon information and belief, Defendants
 16   have no intention of ceasing their infringements.
 17         186. teamLab has been irreparably harmed and has no adequate remedy at law
 18   and is therefore entitled to injunctive relief against Defendants.
 19                                        COUNT VIII
 20         VICARIOUS COPYRIGHT INFRINGEMENT – PHOTOGRAPHED
 21                                          EXHIBITS
 22         187. teamLab incorporates the allegations of Paragraphs 1 through 186 of its
 23   Second Amended Complaint as if restated herein.
 24         188. To the extent Defendants claim their Social Media Consultant is
 25   responsible for the infringement of the Original Works via the display of the Infringing
 26   Derivates, Defendants are vicariously liable for the infringement alleged herein.
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1         189. Defendants have the right and ability to supervise their website and social
  2   media pages, and in fact, upon information and belief, Defendants supplied the
  3   Infringing Derivatives to the Social Media Consultant, which they then directed the
  4   Social Media Consultant to post online.
  5         190. Defendants had the right and ability to stop or limit infringement
  6   committed by third parties handling their social media and advertising such as their
  7   Social Media Consultant, whom Defendants hired, in creating and displaying the
  8   Infringing Derivatives.
  9         191. Defendants declined to exercise their right to stop or limit third parties’,
 10   such as the Social Media Consultant’s, infringement upon teamLab’s copyrights.
 11         192. Defendants profited and continue to profit from third parties’, such as the
 12   Social Media Consultant’s, infringement upon teamLab’s copyrights.
 13         193. Defendants’ acts of vicarious copyright infringement have been willful,
 14   intentional, and purposeful, in disregard of and indifference to teamLab’s rights.
 15         194. As a direct and proximate result of Defendants’ infringements of
 16   teamLab’s copyrights and exclusive rights under copyright, teamLab is entitled to
 17   damages and Defendants’ profits pursuant to 17 U.S.C. § 504(b)
 18         195. Upon information and belief, Defendants have no intention of ceasing their
 19   infringements. Defendants’ conduct is causing, and, unless enjoined and restrained by
 20   this Court, will continue to cause teamLab great and irreparable injury that cannot fully
 21   be compensated or measured in money. teamLab has no adequate remedy at law.
 22   Pursuant to 17 U.S.C. § 502, teamLab is entitled to injunctive relief prohibiting further
 23   vicarious infringements of its teamLab Images.
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
                           MUSEUM OF DREAM SPACE, LLC, ET ANO.
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  1                                         COUNT IX
  2     CONTRIBUTORY COPYRIGHT INFRINGEMENT – PHOTOGRAPHED
  3                                         EXHIBITS
  4         196. teamLab incorporates the allegations of Paragraphs 1 through 195 of its
  5   Second Amended Complaint as if restated herein.
  6         197. Defendants knew or should have known of the copyright infringements of
  7   the Original Works via the Infringing Derivatives described above.
  8         198. Upon information and belief, Defendants induced, caused, or materially
  9   contributed to the copyright infringements of the Original Works via the Infringing
 10   Derivatives described above, including, but not limited to, by supplying the Infringing
 11   Derivatives to their Social Media Consultant, and then directing their Social Media
 12   Consultant to post them online.
 13         199. Upon information and belief, Defendants encouraged, induced, and
 14   permitted their Social Media Consultant to post the Infringing Derivatives online to
 15   advertise their MODS Museum.
 16         200. Defendants’ acts of contributory copyright infringement have been willful,
 17   intentional, and purposeful, in disregard of and indifference to teamLab’s rights.
 18         201. As a direct and proximate result of Defendants’ infringements of
 19   teamLab’s copyrights and exclusive rights under copyright, teamLab is entitled to
 20   damages and Defendants’ profits pursuant to 17 U.S.C. § 504(b).
 21         202. Upon information and belief, Defendants have no intention of ceasing their
 22   infringements. Defendants’ conduct is causing, and, unless enjoined and restrained by
 23   this Court, will continue to cause teamLab great and irreparable injury that cannot fully
 24   be compensated or measured in money. teamLab has no adequate remedy at law.
 25   Pursuant to 17 U.S.C. § 502, teamLab is entitled to injunctive relief prohibiting further
 26   contributory infringements of its Original Works via the Infringing Derivates.
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1                                  PRAYER FOR RELIEF
  2         WHEREFORE, teamLab respectfully requests that it be awarded judgment as
  3   follows:
  4         1.     Finding Defendants directly, vicariously, and contributorily infringed
  5   teamLab’s copyrights in and to the Original Works by violating teamLab’s right to
  6   reproduce, distribute, and/or publicly display the Original Works by means of creating,
  7   distributing, and publicly displaying the substantially similar Infringing Works;
  8         2.     Finding Defendants directly and/or vicariously infringed teamLab’s
  9   copyrights in and to the teamLab Images by reproducing, displaying, and distributing
 10   exact duplicates of the teamLab Images in the form of the Infringing Images;
 11         3.     Finding Defendants directly and/or vicariously infringed teamLab’s
 12   copyrights in and to the Photographed Exhibits by creating, displaying, and distributing
 13   the Infringing Derivatives of the Photographed Exhibits by taking pictures of the
 14   Photographed Exhibits and reproducing, publishing, and publicly displaying said
 15   pictures on Defendants’ websites and social media accounts;
 16         4.     Awarding monetary damages pursuant to 17 U.S.C. § 504(b) including (a)
 17   teamLab’s lost revenues, including without limitation, from lost license fees, royalties,
 18   or other revenues or profits that could have been derived from authorized use of the
 19   Original Works, the teamLab Images, creation of derivative works of the Photographed
 20   Exhibits, and in connection with the Intentions Video; and (b) all profits earned in
 21   connection with the Intentions Video from use of the Infringing Works, the Infringing
 22   Images, and the Infringing Derivatives, including without limitation, from income
 23   derived from ticket sales, merchandise sales, online advertising revenue, and income
 24   associated with the Intentions Video; in an amount no less than USD $5,000,000;
 25         5.     Issuing a preliminary and permanent injunction ordering Defendants to:
 26                a. immediately dismantle and permanently take down the Infringing
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1   Works located at all MODS Museum locations and to refrain, from now and into the
  2   future, from reinstating or creating any exhibition, display, or other use of the Infringing
  3   Works and any works that are substantially similar to the Original Works or Infringing
  4   Works;
  5                b. immediately delete, take down, or otherwise remove all images and
  6   videos from all websites and social media accounts owned, controlled, or operated,
  7   directly or indirectly, by Defendants that depict the Original Works and/or the
  8   Infringing Works, the teamLab Images and/or Infringing Images, the Photographed
  9   Exhibits and/or Infringing Derivatives, and any works, including images and videos,
 10   that are substantially similar to any or all of the above;
 11                c. permanently cease and desist from any further copying, distribution,
 12   public display, creation of derivative works, or engaging in any other use of the Original
 13   Works and/or the Infringing Works, the teamLab Images and/or Infringing Images, the
 14   Photographed Exhibits and/or Infringing Derivatives, and any works, including images
 15   and videos, that are substantially similar to any or all of the above, or causing, inducing,
 16   requesting, or encouraging any third-party to do the same;
 17                d.     permanently cease and desist from any further infringement of
 18   teamLab’s copyrights including the creation of any works substantially similar to any
 19   works in which teamLab owns copyright rights, or causing, inducing, requesting, or
 20   encouraging any third-party to do the same;
 21                e. issue a public statement on Defendants’ website(s) and any social media
 22   accounts and platforms owned, controlled, or operated, directly or indirectly, by
 23   Defendants stating that the Infringing Works, Infringing Images, and Infringing
 24   Derivatives violated teamLab’s copyrights and disclaiming any affiliation with
 25   teamLab; and
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 28                     TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
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  1         6.      Awarding teamLab such other and further relief as the Court deems just
  2   and proper.
  3   Dated:        January 20, 2020
  4                                                 COWAN DEBAETS ABRAHAMS
  5                                                 & SHEPPARD, LLP
  6                                                 By: /s/Nancy E. Wolff
  7                                             Nancy E. Wolff, Esq., No. 133334
  8                                                 Scott J. Sholder, Esq., pro hac vice
  9                                             Attorneys for Plaintiff,
 10                                             TEAMLAB INC.
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 28                  TEAMLAB INC.’S SECOND AMENDED COMPLAINT AGAINST
                           MUSEUM OF DREAM SPACE, LLC, ET ANO.
